23-11007-cgb Doc#110 Filed 09/18/24 Entered 09/18/24 14:03:36 Main Document Pg 1 of
                                         4



                        THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION


  In re:                                           §                    Case No. 23-11007-cgb
                                                   §
  ARTIUS.ID, INC.,                                 §                    Chapter 7
                                                   §
                  Alleged Debtor.                  §


                  NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

           PLEASE TAKE NOTICE that the attorney and firm listed below hereby appears as

  counsel for Debtor, Artius.ID, Inc., pursuant to Section 1109(b) of the Bankruptcy Code, and

  pursuant to Federal Rules of Bankruptcy Procedure 2002(b) and 9010, hereby request that all

  notices, papers and pleadings in this case be mailed to or served upon the undersigned, regardless

  of whether the Court limits the mailing of notices:

                                 Mark D. Taylor
                                 Texas Bar No. 19713250
                                 mark.taylor@bakermckenzie.com
                                 BAKER McKENZIE LLP
                                 1900 N. Pearl St., Suite 1500
                                 Dallas, Texas 75201
                                 Telephone: (214) 978-3000
                                 Facsimile: (214) 978-3099

           This request encompasses all notices, copies and pleadings referred to in Section 1109(b)

  of Title 11, or in Rule 2002, 3017, 4004, 4007 and 9007 of the Bankruptcy Rules, including,

  without limitation, notices of any further orders, motions, demands, complaints, petitions,

  pleadings, requests, applications, disclosure statements, plans and other documents brought

  before this Court in this case, whether formal or informal, written or oral and whether

  transmitted or conveyed by mail, delivery, telephone, telegraph, telecopy, telefax, telex or

  otherwise, which effect or seek to effect the captioned proceeding.


  NOTICE OF APPEARANCE AND REQUEST FOR SERVICE - Page 1
23-11007-cgb Doc#110 Filed 09/18/24 Entered 09/18/24 14:03:36 Main Document Pg 2 of
                                         4



  Dated: September 18, 2024            Respectfully submitted,

                                       BAKER McKENZIE LLP

                                       By:      /s/ Mark D. Taylor
                                               Mark D. Taylor
                                               Texas Bar No. 19713250
                                               mark.taylor@bakermckenzie.com

                                       1900 N. Pearl St., Suite 1500
                                       Dallas, Texas 75201
                                       Telephone: (214) 978-3000
                                       Facsimile: (214) 978-3099

                                       -and-

                                       Alexander D. Burch
                                       800 Capitol St., Suite 2100
                                       Houston, Texas 77002
                                       Telephone: (713) 427-5000
                                       Facsimile: (713) 427-5099
                                       alexander.burch@bakermckenzie.com

                                       -and-

                                       Mark Bloom (admitted Pro Hac Vice)
                                       Sabadell Financial Center
                                       1111 Brickell Avenue, 10th Floor
                                       Miami, Florida 33131
                                       Telephone: (305) 789 8927
                                       Facsimile: (305) 789 8953

                                       COUNSEL FOR DEBTOR
                                       ARTIUS.ID, INC.




  NOTICE OF APPEARANCE AND REQUEST FOR SERVICE - Page 2
23-11007-cgb Doc#110 Filed 09/18/24 Entered 09/18/24 14:03:36 Main Document Pg 3 of
                                         4



                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on September 18, 2024 a true and correct copy of the
  foregoing was served simultaneously upon docketing on all counsel of record or pro se parties
  identified on the attached Service List via transmission of Notices of Electronic Filing generated
  by CM/ECF or by first class U.S. mail on those counsel or parties who are not authorized to
  receive electronically Notices of Electronic Filing in this case.

                                                /s/ Mark D. Taylor
                                               Mark D. Taylor

  Electronic Notice by CM/ECF

  Jason Bradley Binford
  Ross, Smith & Binford, PC
  2901 Via Fortuna, Bldg. 6, Suite 450
  Austin, TX 78746
  jason.binford@rsbfirm.com

  See Attached Matrix

  Manual Notice

  None




  NOTICE OF APPEARANCE AND REQUEST FOR SERVICE - Page 3
            23-11007-cgb Doc#110 Filed 09/18/24 Entered 09/18/24 14:03:36 Main Document Pg 4 of
Label Matrix for local noticing       ArtiusID, Inc. 4                     United States Trustee (SMG17)
0542-1                                               801 Barton Springs                                   United States Trustee*
Case 23-11007-cgb                                    Austin, TX 78704-1146                                903 San Jacinto Blvd, Suite 230
Western District of Texas                                                                                 Austin, TX 78701-2450
Austin

U.S. BANKRUPTCY COURT                                ArtiusID, Inc.                                       ArtiusID, Inc.
903 SAN JACINTO, SUITE 322                           c/o Alexander D. Burch*                              c/o Robert T. DeMarco*
AUSTIN, TX 78701-2450                                BAKER & McKENZIE LLP                                 DeMarcoMitchell, PLLC
                                                     800 Capitol St., Suite 2100                          12770 Coit Road, Suite 850
                                                     Houston, Texas 77002-2947                            Dallas, TX 75251-1364

Collaborative Vision LLC                             Collaborative Vision LLC
c/o Cokinos Young                                    c/o Lynn Hamilton Butler*                            c/o Emma P. Myles
1221 Lamar 16th FL                                   Husch Blackwell LLP                                 Cokinos Young
Houston TX 77010-3039                                111 Congress Avenue, Suite 1400                     1221 Lamar Street, 16th Floor
Self-Terminated on 08/23/2024                        Austin, TX 78701-4093                               Houston, Texas 77010-3039
                                                                                                         Self-Terminated on 08/23/2024
Collaborative Vision, LLC                            Collaborative Vision, LLC                            Goldstein Consulting Services, LLC
c/o Kell C. Mercer, PC*                              c/o Tres Gibbs                                       c/o Michael T. Conway, Esq.*
901 S Mopac Expy Bldg 1 Ste 300                      Cokinos Young                                        Lazare Potter Giacovas & Moyle LLP
Austin, TX 78746-5883                                1221 Lamar, 16th Fl.                                 747 Third Avenue, 16th Floor
                                                     Houston, Texas 77010-3039                            New York, NY 10017-2856
                                                     Self-Terminated on 08/23/2024
Rearc LLC                                            Ron Satija, Chapter 7 Trustee                        United States Trustee - AU12
c/o Michael T. Conway, Esq.*                         c/o Todd Headden*                                    United States Trustee
Lazare Potter Giacovas & Moyle LLP                   Hayward PLLC                                         903 San Jacinto Blvd, Suite 230
747 Third Avenue, 16th Floor                         7600 Burnet Road, Suite 530                          Austin, TX 78701-2450
New York, NY 10017-2856                              Austin, TX 78757-1269                                c/o Shane P. Tobin*

Xmogrify                                             Alexander D. Burch*                                  Eric A Liepins*
c/o Michael T. Conway, Esq.*                         Baker McKenzie LLP                                   Legal Aid of Northwest Texas
Lazare Potter Giacovas & Moyle LLP                   700 Louisiana, Suite 3000                            1515 Main Street
747 Third Avenue, 16th Floor                         Houston, TX 77002-2871                               Dallas, TX 75201-4841
New York, NY 10017-2856

Mark D. Bloom*                                       Robert T DeMarco III*                                Ron Satija*
Baker McKenzie LLP                                   Robert Demarco                                       P.O. Box 660208
1111 Brickell Ave                                    12770 Coit Road                                      Austin, TX 78766-7208
Ste 10th Floor                                       Suite 850
Miami, FL 33131-3122                                 Dallas, TX 75251-1364

*Parties served by ECF


                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Collaborative Vision, LLC                         End of Label Matrix
c/o Lynn Hamilton Butler                             Mailable recipients     20
Husch Blackwell LLP                                  Bypassed recipients      1
111 Congress Avenue, Suite 1400                      Total                   21
Austin, TX 78701-4093
